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                 UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                        LAREDO DIVISION



IN RE APPLICATION OF THE
ASSOCIATED PRESS, GANNETT
CO., INC., GRAY MEDIA GROUP,            Misc. Action No. 5:22-mc-00111
INC., HEARST CORPORATION, AND           Hon. Andrew M. Edison
THE TEXAS TRIBUNE TO UNSEAL
COURT RECORDS




REPLY OF THE ASSOCIATED PRESS, GANNETT CO., INC., GRAY MEDIA
 GROUP, INC., HEARST CORPORATION, AND THE TEXAS TRIBUNE IN
       SUPPORT OF MOTION TO UNSEAL COURT RECORDS


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                             STATEMENT OF THE ISSUES

       1.     Whether, after “undertak[ing] a ‘document-by-document, line-by-line

balancing of the public’s common law right of access [to judicial records] against the

interests favoring nondisclosure’” on the facts of this particular case, June Medical

Servs., LLC v. Phillips, 22 F.4th 512, 521 (5th Cir. 2022) (quoting Binh Hoa Le v. Exeter

Fin. Corp., 990 F.3d 410, 417 (5th Cir. 2021)), the Government has justified concealing

every line of every judicial record related to the searches executed at Rep. Henry

Cuellar’s home and campaign office on January 19, 2022.

       2.     Whether the Government has demonstrated that the continued sealing of

those records, in their entirety, “is essential to preserve higher values and is narrowly

tailored to serve that interest,” despite the obvious less-restrictive alternative of redaction,

so as to overcome the public’s presumptive First Amendment right of access. In re

Hearst Newspapers, LLC, 641 F.3d 168, 181 (5th Cir. 2011) (citations omitted).




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                             SUMMARY OF ARGUMENT

       “The public’s right of access to judicial records is a fundamental element of the

rule of law.” Binh Hoa Le v. Exeter Finance Corp., 990 F.3d 410, 417 (5th Cir. 2021)

(citation omitted). As the Fifth Circuit has already explained in the specific context

presented here––a motion for public access to warrant materials during an ongoing

investigation––the right’s core logic is that “[p]ublic confidence [in our judicial system]

cannot long be maintained where important judicial decisions are made behind closed

doors and then announced in conclusive terms to the public, with the record supporting

the court’s decision sealed from public view.” United States v. Sealed Search Warrants,

888 F.3d 385, 395 (5th Cir. 2017) (citation omitted) (second alteration in original). So

too in this case, where “[t]he fact that federal agents conducted searches at Rep. Cuellar’s

home and campaign office on January 19, 2022 is certainly no secret,” Order & Opinion

at 2 (ECF No. 13), but the record supporting the judicial decision to authorize those

searches remains wholly sealed.

       Even if this were an ordinary case, the common law and First Amendment would

entitle the public to see for itself “that judges are not merely serving as a rubber stamp for

the police” when approving warrants. In re N.Y. Times Co., 585 F. Supp. 2d 83, 88

(D.D.C. 2008). For just that reason, disclosure of warrant materials “after a search has

been executed” is “routine.” Id. at 88 n.8; accord Baltimore Sun Co. v. Goetz, 886 F.2d

60, 64 (4th Cir. 1989); In re Search Warrant for Secretarial Area Outside Office of Gunn,

855 F.2d 569, 573 (8th Cir. 1988). But this extraordinary case implicates even greater

interests in transparency, including the public’s right to evaluate the conduct of one of its


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“public official[s],” Bradley ex rel AJW v. Ackal, 954 F.3d 216, 233 (5th Cir. 2020); In re

L.A. Times Commc’ns LLC, 28 F.4th 292, 298 (D.C. Cir. 2022), and the unique

separation-of-power concerns raised by the search and seizure of property of a sitting

Member of Congress, see United States v. Rayburn House Off. Bldg., 497 F.3d 654 (D.C.

Cir. 2007). The public is entitled to understand the “important judicial decision[]” to

authorize that step. Sealed Search Warrants, 888 F.3d at 395 (citation omitted).

       The Government’s arguments to the contrary reflect a basic quarrel with the

holding of Sealed Search Warrants: Every generic justification for sealing it offers

would describe every ongoing criminal investigation, resurrecting the rule of blanket

secrecy that the Fifth Circuit has squarely rejected. But see, e.g., Greenlaw v. Klimek,

No. 4:20-cv-311, 2020 WL 7318085, at *2 (E.D. Tex. Dec. 11, 2020) (under Sealed

Search Warrants, “the fact that the records to be unsealed represent pre-indictment

investigation materials is not, by itself, a bar to disclosure”). If the Government believes

the Fifth Circuit erred in concluding that a presumption of access attaches to warrant

materials whether or not they relate to an ongoing investigation, it should have sought

rehearing or further review. It cannot ask this Court to disregard Circuit precedent.

       Because the common law and First Amendment guarantee presumptive access to

the judicial records in question (the “Warrant Materials”), and because the Government’s

interests cannot plausibly prevail with respect to the entirety of those records, this Court

should order the Warrant Materials unsealed, subject only—if necessary—to any tailored




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redactions this Court finds justified by “compelling countervailing interests” after its line-

by-line review. Order & Opinion, supra, at 8 (quoting Binh Hoa Le, 990 F.3d at 421).1

                                         ARGUMENT

    I.     The common law requires public access to the Warrant Materials, subject—
           at most—to any redactions justified by a compelling need.

           As it must, the Government concedes that Fifth Circuit precedent already holds

that the Warrant Materials are subject to “a presumption of public access” under the

common law, notwithstanding the existence of its ongoing investigation. Merits

Opposition, supra, at 8 (quoting SEC v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir.

1993)). It then goes on to spend much of its opposition relitigating that question,

claiming that secrecy should in fact be “presumptively justified while the investigation is

ongoing.” Id. at 1 (quoting In re Sealing & Non-Disclosure of Pen/Trap/2703(d) Orders,

562 F. Supp. 2d 86, 895 (S.D. Tex. 2008)). That framing is telling: The Government has

no argument specific to this investigation—or, more precisely, no argument specific to

the contents of each of the particular records at issue here—only an objection to the Fifth



1
        The Government’s remarkable suggestion that “there is ‘no basis’ to require
‘compelling circumstances’ to support sealing” distorts Circuit law. Gov’t’s Response in
Opposition to Motion to Unseal Court Records (“Merits Opposition”) at 17 (ECF No. 7)
(quoting Belo Broad. Corp. v. Clark, 654 F.2d 423, 434 (5th Cir. Unit A 1981)). In Belo,
the Fifth Circuit criticized other courts for imposing a common law standard so rigorous
“that only the most compelling circumstances” could justify nondisclosure, concluding
there was “no basis” for an “overpowering presumption in favor of access” against which
a defendant’s fair trial rights could never prevail. 654 F.2d at 433–34 (emphases added)
(citation omitted). But as this Court has already observed, Circuit law is clear that
secrecy claims must be “compelling,” Binh Hoa Le, 990 F.3d at 421, because the
common law creates a presumption in favor of access, and sealing is “heavily
disfavor[ed],” June Medical Servs, LLC v. Phillips, 22 F.4th 512, 519 (5th Cir. 2022).

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Circuit’s rule that “such requests for access must be assessed on a case-by-case basis.”

Sealed Search Warrants, 868 F.3d at 388. But if blanket sealing were justified even in

this exceptional case––where the public interest in transparency is at its apex and the

Government’s secrecy interests are sharply undercut by the information already in the

public domain––the public’s right of access to warrant materials would be a dead letter.

       A.     The Government’s generic reliance on an ongoing investigation fails.

       As the Government’s opposition to unsealing even a word of its briefing in this

case aptly put it, “all the government’s arguments are premised on the fact that the

investigation remains ongoing,” Gov’t’s Opposition to Motion to Unseal Sealed

Response of the United States at 1 (“Briefing Opposition”). None, though, are

meaningfully specific to this investigation or the specific records at issue. Every warrant

affidavit describes the “nature, scope and direction of the government’s investigation.”

Merits Opposition, supra, at 13 (quoting In re Gunn, 855 F.2d at 574). Every warrant

describes “the criminal statutes that the subjects may have violated and the types of

evidence the government is gathering.” Id.2 And it is typical, not extraordinary, for an


2
        Because the Government is required to provide a copy of the warrant and receipt
to the individual whose property was searched, see Fed. R. Crim. Proc. 41(c), the
Government cannot seriously claim that concealing the information it contains is critical
to preventing subjects from “anticipat[ing] the direction of the ongoing investigation and
tak[ing] steps to hinder or obstruct it,” Merits Opposition, supra, at 13. Not only will the
individual searched often be a subject of the investigation, but nothing prevents them
from broadcasting the warrant to the world––as the Government itself explained in
moving to unseal the Mar-a-Lago warrant. See Deepa Shivaram, FBI Collected Multiple
Sets of Classified Documents from Trump’s Mar-a-Lago Home, NPR (Aug. 12, 2022),
https://perma.cc/M2LZ-UZT6 (noting that “[Attorney General] Garland said Trump’s
attorney was given a copy of the search warrant and the property receipt so the former
president could also have released the documents on his own accord”).

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affidavit to describe witnesses. See id. If those features were enough to justify blanket

sealing, the Fifth Circuit’s holding that courts must take “[a] case-by-case approach to

pre-indictment warrant materials” would be a nullity; blanket sealing would be justified

in every single case. Sealed Search Warrants, 868 F.3d at 395; cf. Johnson v. Bodi Servs.

LLC, No. 5:17-cv-123, 2018 WL 319847 at *1 (S.D. Tex. June 29, 2018) (justifications

for secrecy that “do little to distinguish the settlement in this case from any other”

inadequate to justify sealing a settlement subject to the presumption of access).

       The magistrate judge whose opinion was reversed by the district court but

vindicated by the Fifth Circuit in Sealed Search Warrants made the same point in

rejecting identical arguments: “[a] conclusory allegation[] which would require the

[continued] sealing of search warrants in nearly every criminal investigation” is not

enough to overcome the common law presumption of access. In re Search Warrant

Executed on March 22, 2016, 195 F. Supp. 3d 908, 914 (S.D. Tex. 2016) (citing In re Up

North Plastics, Inc., 940 F. Supp. 229, 234 (D. Minn. 1996)) (alterations in original).

Remarkably, the Government is so determined to rewrite Circuit history to exempt

ongoing investigations from the right of access that it claims no disclosure was ultimately

ordered in that case, as if its interests prevailed in the end. See Merits Opposition, supra,

at 16. But that claim is wrong, as the Government could have learned from its own past

filings: The district court on remand, applying the rule announced by the Fifth Circuit,

“ordered redacted versions of the search warrant affidavits in th[at] case to be unsealed.”




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United States’ Unopposed Motion to Withdraw Notice of Appeal and to Dismiss Appeal,

United States v. Sealed Search Warrants, No. 18-20124 (5th Cir. Mar. 7, 2018).3

       Simply put, there is nothing unprecedented about the disclosure of redacted

warrant materials during an ongoing investigation. The Fifth Circuit has already settled

that disclosure is the presumptive rule, not the grudging exception, and the Government

has not distinguished its investigation here from any other ongoing investigation. It

should be no surprise that other courts have required more: not just the conceptual

possibility of obstruction, but some concrete action the targets would likely take, see In re

Search Warrant Executed on March 22, 2016, 195 F. Supp. 3d at 914, and not just the

recitation of the words ‘witness intimidation’ or ‘witness coordination,’ but some real

prospect of “adverse action,” see In re Search Warrants Issued on April 26, 2004, 353 F.

Supp. 2d 584, 594 (D. Md. 2004). And even if the Government had made a showing that

specific, at most its concerns would justify limited redactions that preserve the public’s

ability to understand the basis for the “important judicial decision[]” to grant the

warrants. Sealed Search Warrants, 888 F.3d at 395 (citation omitted); see United States

v. Business of Custer Battlefield Museum & Store, 658 F.3d 1188, 1195 n.5 (collecting

cases in which “redacting sensitive information rather than refusing to unseal the



3
        Strangely, the district court’s order on remand appears to be sealed––presumably
because it was sealed pending the Government’s pursuit of appellate remedies, but never
unsealed after the Government abandoned its appeal. See Sealed Order, United States v.
Sealed Search Warrant, No. 4:16-mj-00409 (S.D. Tex. Jan. 12, 2018) (ECF No. 62).
Applicants would respectfully suggest that the District Court unseal that order to prevent
future litigants from making the same mistake the Government did here, and to ensure
that important precedent on the right of access to warrant materials is publicly available.

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materials entirely” was found adequate, including “to protect the privacy interests of

innocent third parties,” “to protect the government’s ongoing investigation,” and “to

protect confidential informants”). To countenance blanket sealing on so generic a

showing would eviscerate the public’s right of access in this important context.

       B.     The Government ignores the key facts specific to this case that
              affirmatively favor transparency and undercut any need for secrecy.

       In a mirror-image error, the Government fails to confront the considerations

undercutting its purported need for continued secrecy that are distinctive to this case. It

has nothing to say, for instance, about the fact that this case implicates “the powerful

public interest” in learning of potential misconduct by a sitting public official. In re L.A.

Times Commc’ns LLC, 28 F.4th at 298 (reversing a district court decision that omitted

that consideration from the unsealing analysis). But Circuit law is clear that the issues of

public concern pervading this case—including the public’s entitlement to evaluate the

official conduct of Rep. Cuellar, the executive officials who sought and executed the

warrants, and the judicial officer who granted them––“weigh[] in favor of disclosure”

here. Bradley ex rel AJW, 954 F.3d at 233; see also June Medical Servs., 22 F.4th at 520.

       The Government likewise fails to address whether information already in the

public domain vitiates the rationales for secrecy that might have appropriately been

advanced in a different case. See, e.g., Mike Levine, Feds Issue Subpoenas Seeking

Records Related to Rep. Cuellar and His Wife, Associates, ABC News (Jan. 21, 2022),

https://perma.cc/3378-CQ4S (describing the nature, scope, and direction of the related

grand jury investigation). The point is perhaps most stark with respect to the



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Government’s passing references to reputational harm, which fail to account for the

reality that Rep. Cuellar has already acknowledged the existence of an investigation, and

that the highly public “search itself prompts suspicion and damages the reputation of the

subject.” In re Search Warrants Issued on April 26, 2004, 353 F. Supp. at 590; In re L.A.

Times Commc’ns LLC, 28 F.4th at 298 (faulting a district court for ignoring “extensive

media reporting relating to the Justice Department’s investigation, including the

Senator’s own acknowledgement” in weighing any need for continued secrecy).

       The Government’s effort to distinguish the Mar-a-Lago matter only underscores

the point. It notes, for instance, that that search “was the subject of intense national

media coverage as well as various statements by former President Trump and his

representatives.” Briefing Opposition, supra, at 6. But the same is true here: The

Cuellar searches were the subject of intense national media coverage as well as various

statements by Rep. Cuellar and his representatives. See Order & Opinion, supra, at 1–2

(canvassing same). And the claim that the material the Government affirmatively

unsealed there “did not disclose previously unreported information about the

investigation’s current status,” Briefing Opposition, supra, at 6, for its part, is simply

false. The “revelations” included in those disclosures fed days of intensive news

coverage and public discussion. Scott R. Anderson et al., What’s in the Unsealed Mar-a-

Lago Search Warrant?, Lawfare (Aug. 12, 2022), https://perma.cc/5SS5-BP6L. And of

course, as this Court is no doubt aware, the district court in that matter ultimately ordered

even more disclosure than the Government stepped forward to propose, enriching yet

further debate on the search, its basis, and the conduct of both the Government and the


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former President. See Jill Colvin & Nomaan Merchant, Takeaways from the Unsealed

Mar-a-Lago Affidavit, AP (Aug. 27, 2022), https://perma.cc/X5R6-UV4K.

       The Government’s only explanation is that the Mar-a-Lago search was “unique,”

Briefing Opposition, supra, at 6—that it reflects “an unprecedented exception in our law

for former presidents,” Trump v. United States, No. 22-13005, 2022 WL 17352069, at *1

(11th Cir. Dec. 1, 2022). But the distinction is unprincipled; the public is just as entitled

to confidence in its current legislators as in its former presidents, and a rule that grants

the Government sole discretion to decide whether warrant materials from such

investigations will be made public poses an obvious threat to public confidence that

justice is carried out “fairly to all concerned,” without “secret bias or partiality.”

Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 569 (1980) (plurality opinion).

The common law presumption of access guards against that very risk, see Sealed Search

Warrants, 888 F.3d at 395, and the Government has not—and cannot—overcome it here.

       C.     Reliance on grand jury secrecy would be overbroad, if not misplaced.

       In prior cases with similar facts, the Government has also cited grand jury secrecy

as a rationale for the nondisclosure of warrant materials. See Applicants’ Supplemental

Ltr. Br. at 2 & n.1 (noting the Government’s unsuccessful reliance on Rule 6(e) in

attempting to conceal warrant materials from the investigation of Sen. Richard Burr). To

the extent it does so here, see Levine, supra (noting that the searches were related to a

grand jury probe related to Azerbaijan), such reliance is misplaced. Rule 6(e) would

justify, at most, narrow redactions to the Warrant Materials––and likely not even that.




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       Materials that are prepared “based on knowledge of the grand jury proceedings”

are not themselves protected by Rule 6(e) if they do not “reveal the grand jury

information on which [they are] based.” In re Grand Jury Investigation, 610 F.2d 202,

217 (5th Cir. 1980). And as other courts have held in applying this principle to warrant

materials, unsealing does not “disclose a matter occurring before a grand jury,” Fed. R.

Crim. Proc. 6(e)(6), if information that was derived from––or presented in parallel to––

the grand jury appears in the records without reference to the grand jury, such that a

reader could not distinguish what is from what isn’t grand jury material, see In re L.A.

Times Commc’ns LLC, No. 1:21-mc-00016, 2022 WL 3714289, at *4 (D.D.C. Aug. 29,

2022) (material “‘coincidentally before the grand jury’ that does not ‘elucidate’ the grand

jury’s ‘inner workings’” not protected when it appears in warrant affidavit without

reference to the grand jury) (quoting Senate of Puerto Rico v. U.S. Dep’t of Justice, 823

F.2d 574, 582 (D.C. Cir. 1987)); In re Search of 14416 Coral Gables Way, 946 F. Supp.

2d 414, 428 (D. Md. 2011) (same where affidavit incorporates information obtained by

grand jury subpoena but “does not identify the information received from grand jury

subpoena rather than other sources”). The same is true here. Unless the Government

made very unusual choices in drafting the Warrant Materials, grand jury secrecy could

not plausibly justify blanket sealing and likely would not even justify narrow redactions. 4


4
       In the Burr matter, it eventually became clear that that mistakenly broad view of
grand jury secrecy underpinned most of the Government’s proposed redactions, which it
swiftly abandoned after being reminded by the district court of the appropriate legal
standard. See Minute Order, In re L.A. Times Commc’ns LLC, No. 1:21-mc-00016
(D.D.C. Aug. 12, 2022) (ordering the Government to explain “why information redacted
in paragraphs 7, 21, 28, 29, 39–42, 45–47, 50–53, 58, and 59–61 of the affidavit in

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    II.     The First Amendment also requires public access to the Materials, subject—
            at most—to any redactions narrowly tailored to a compelling interest.

            This Court need not reach the constitutional question in this case because the

common law entitles Applicants to all the relief they seek. See In re Leopold to Unseal

Certain Elec. Surveillance Applications & Orders, 964 F.3d 1121, 1126 (D.C. Cir. 2020)

(approaching the analysis in that order). But the First Amendment also guarantees

presumptive public access to the Warrant Materials, and it imposes an even more

daunting burden on the Government to justify nondisclosure. The Government reaches a

different result only by asking the wrong questions—whether the presumption attaches to

“search warrant proceedings,” or perhaps to “warrant materials in an ongoing

investigation,” Merits Opposition, supra, at 23, rather than to “warrant materials.” That

analysis repeats the error that Sealed Search Warrants rejected in the common-law

context, conflating the question of whether the presumption of access attaches with the

question of whether that presumption is overcome by facts specific to the particular

case—including the stage and context of any related investigation.5 Regardless, the




support of the search warrant actually implicates matters occurring before the grand jury
. . . when no reference to the grand jury is made in those paragraphs); Response to Order
of the Court, In re L.A. Times Commc’ns LLC, No. 1:21-mc-00016 (D.D.C. Aug. 16,
2022) (ECF No. 31) (conceding that those redactions were not required by Rule 6(e)).
5
       See also Globe Newspaper Co. v. Superior Court, 457 U.S. 597, 605 n.13 (1982)
(explaining that the First Amendment presumption of access attaches to criminal trials
“as a general matter” and that the question whether the presumption is overcome “in the
context of any particular criminal trial, such as a murder trial . . . or a rape trial, depends
not on the historical openness of that type of criminal trial but rather on the state interests
assertedly supporting the restriction”).

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Government’s argument fails on its own terms because experience and logic both favor

access to warrant materials, including during ongoing investigations.

       As an initial matter, the Government’s arguments from the history of warrant

proceedings are a nonsequitur. Applicants have not moved to attend a warrant

proceeding, and the presumption of access is not limited to the records of proceedings the

public is entitled to attend. See Phoenix Newspapers, Inc v. U.S. District Court, 156 F.3d

940, 947 (9th Cir. 1998) (refusing to “conflate” the two issues”); Dhiab v. Trump, 852

F.3d 1087, 1104 (D.C. Cir. 2017) (Williams, J., concurring in part and concurring in the

judgment) (noting that “courts have often, where documents were at issue, turned directly

to the documents in dispute, and applied the ‘experience and logic’ ideas to them”).

       Turning to the documents at issue, “routine historical practice countenances in

favor of a qualified First Amendment right of access to warrant materials” because

“warrant applications and receipts are routinely filed with the clerk of court without seal.”

In re N.Y. Times Co., 585 F. Supp. 2d at 88. The fact that warrant materials are

presumptively accessible under the common law only bolsters that conclusion, as courts

for common-sense reasons have “generally invoked the common law right of access to

judicial documents in support of finding a history of openness.” Hartford Courant Co. v.

Pellegrino, 380 F.3d 83, 92 (2d Cir. 2004). The Government’s preferred authorities for

the opposite proposition are unpersuasive because they misstate the experience of access.

       “[T]he sealing of search warrant materials has traditionally been considered ‘an

extraordinary action’ which was necessarily supported by a showing of ‘real harm.’” In

re Search Warrants Issued on April 26, 2004, 353 F. Supp. 2d at 589 (quoting 3A Charles


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A. Wright et al., Fed. Prac. & Proc. Crim. § 672 at 333 (3d ed. 2004)); see also In re

Search Warrant for Second Floor Bedroom, 489 F. Supp. 207, 212 (D.R.I. 1980)

(describing the sealing of a search warrant affidavit post-execution as an “unusual step”).

Only recently have courts become laxer in holding the Government to the appropriate

standard, such that “sealing search warrant affidavits and materials has become a routine

matter” in some jurisdictions. In re Search Warrants Issued on April 26, 2004, 353 F.

Supp. 2d at 589; cf. Binh Hoa Le, 990 F.3d at 417 (noting a “growing practice” of

unjustified sealing in civil cases). As former Magistrate Judge Stephen Wm. Smith found

in a study of this very District, fewer than one in five search warrants issued by the

Houston Division were sealed in 1995––but that percentage more than tripled over the

ten years that followed. See Stephen Wm. Smith, Kudzu in the Courthouse: Judgments

Made in the Shade, 3 Fed. Courts L. Rev. 177, 208–09 (2009). As a result, “this common

type of judicial activity, once routinely done in public view, is now routinely done behind

closed doors.” Id. at 209. But there is no adverse possession in constitutional law; the

Government cannot curtail the public’s right by violating it with sufficient consistency.

Experience favors access to search warrant materials, even in ongoing investigations.

       Logic points in the same direction for the same reasons the Fifth Circuit gave in

Sealed Search Warrants: “Public confidence [in our judicial system] cannot long be

maintained where important judicial decisions are made behind closed doors and then

announced in conclusive terms of the public, with the record supporting the court’s

decision sealed from public view.” Sealed Search Warrants, 888 F.3d at 395 (citation

omitted) (alteration in original). And this case starkly underlines the point. Images from


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the Government’s dramatic raids of Rep. Cuellar’s home and office “featured in

campaign ads against” Rep. Cuellar and “raised questions among voters” in a contested

election, but the Government’s insistence on secrecy has so far denied—and would

continue to deny—the public any chance to understand for itself why a court approved,

and why the Government executed, the search. Ursula Perano, Dems Failed to Dethrone

the ‘King of Laredo,’ Now They Hope He Reigns On, Daily Beast (Nov. 6, 2022). Public

access would plainly “play[] a significant positive role in the functioning” of the judicial

process underpinning that search, by upholding “the appearance of fairness so essential to

public confidence in the system.” Press-Enter. v. Superior Court, 478 U.S. 1, 8–9

(1986). And the alternative is to deny the public any meaningful, contemporaneous

understanding of a process “used to adjudicate important constitutional rights.” In re

N.Y. Times Co., 585 F. Supp. 2d at 90. That result would be intolerable. The right of

access to warrant materials provides a critical check on the executive and judicial

branches, see In re Gunn, 855 F.2d at 573, and logic therefore favors public access.

       Where, as here, the First Amendment presumption of access attaches to a

particular class of judicial records, it provides even greater protection than the common

law presumption does. See Sealed Search Warrants, 868 F.3d at 390 n.1. Accordingly,

just as the Government has failed to justify the secrecy it seeks under the common law, it

follows a fortiori that public access is likewise required under the First Amendment.

                                     CONCLUSION

       For the foregoing reasons, Applicants respectfully ask the Court to order the

Warrant Materials unsealed, subject only—if necessary—to any tailored redactions this


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Court finds justified by “compelling countervailing interests” after its line-by-line review.

Order & Opinion at 8 (quoting Binh Hoa Le, 990 F.3d at 421).

Dated: December 23, 2022                  Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I, Katie Townsend, hereby certify that on the 23rd day of December, 2022, a copy

of the foregoing was filed electronically using this Court’s CM/ECF system.


Dated: December 23, 2022                Respectfully submitted,

                                        s/ Katie Townsend
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